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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JAMICA DAVIS,                               )
                                            )
               Plaintiff,                   )
                                            ) Case No. 22-cv-2148
v.                                          )
                                            ) The Hon. Judge
KAREN YARBROUGH, in her official capacity )
as COOK COUNTY CLERK and in her individual ) Magistrate Judge
capacity, and the COUNTY OF COOK, ILLINOIS, )
as indemnitor,                              )
                                            ) JURY DEMANDED
               Defendants.                  )

                                              COMPLAINT

        JAMICA DAVIS (“Plaintiff” or “Davis”), by and through her undersigned counsel, Cass

Thomas Casper, Esq., DISPARTI LAW GROUP, P.A., complains as follows against Defendants

KAREN YARBROUGH (“Yarbrough”), in her official capacity as Cook County Clerk and in

her individual capacity, and the COUNTY OF COOK, ILLINOIS (“County”) as indemnitor

(collectively, hereinafter, “Defendants”).

                                  JURISDICTION AND VENUE

    1. Jurisdiction of this Court arises under 28 U.S.C. §§ 1331, 1337 and pursuant to the

Family Medical Leave Act, 29 U.S.C. § 2601, et seq., as amended (“FMLA”).

    2. Venue is proper under 28 U.S.C. § 1391 because the events and omissions giving rise to

the claims herein have occurred in this judicial district, and because Defendants maintain places

of operation within this judicial district.

                                               PARTIES

    3. Plaintiff Davis is a legal adult and a resident of Illinois formerly employed as a Special

Assistant to the Cook County Clerk with the office of the Cook County Clerk (“Clerk”).
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   4. Defendant Yarbrough is the duly-elected Cook County Clerk and is sued in her official

and individual capacities.

   5. Defendant Yarbrough is an employer within the meaning of the FMLA in that her office

is engaged in an industry affecting commerce and employs 50 or more employees within each

working day in 20 or more calendar workweeks in at least 2020 and 2021.

   6. Defendant Yarbrough is a person acting in the interest of the Cook County Clerk’s Office

with respect to its employees.

   7. Defendant Cook County, Illinois is a unit of local government with indemnification

obligations for wrongful acts committed by its officials, such as Yarbrough. See 745 ILCS §

10/1-202 and § 9-102. It is sued in its capacity as indemnitor only.

                             FACTS COMMON TO ALL COUNTS

   8. At all times relevant, Plaintiff was employed by Defendant as a Special Assistant to the

Cook County Clerk for Government Affairs (“Special Assistant”) between in or about 2019

when Defendant Yarbrough won election as Cook County Clerk, up through Plaintiff’s

termination on October 26, 2021.

   9. Plaintiff’s job duties as Special Assistant included, but were not limited to, tracking and

updating Clerk Yarbrough’s schedule and calendar, serving as liaison between Cook County

officials and Clerk Yarbrough, going to meetings on Clerk Yarbrough’s behalf, performing

administrative duties for Clerk Yarbrough as needed, making and tracking appointments,

answering phone calls and emails, and any other tasks as needed by Clerk Yarbrough.

   10. At all times relevant, Plaintiff made $41.00 per hour in addition to benefits, and was due

for a three percent increase in December 2021.

   11. At all times relevant, Plaintiff was eligible for FMLA leave in that she was employed by



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Yarbrough for more than 12 months prior to her request for leave in issue in this case in October

2021, and had worked more than 1,250 hours for Clerk Yarbrough in that same period.

   12. In or about February 2021, Plaintiff sought and took medical leave pursuant to the FMLA

for qualifying serious health conditions.

   13. Plaintiff returned from her FMLA leave in approximately the middle of March 2021.

   14. Plaintiff did not exhaust her annual entitlement to leave following her February and

March 2021 FMLA leave.

   15. Immediately on returning, Clerk Yarbrough told Plaintiff, words to the effect, “I’m glad

you are back, but don’t take anymore leaves.”

   16. As a result of Clerk Yarbrough’s admonishment in March 2021, Plaintiff was afraid to

take any more FMLA leaves.

   17. In October 2021, Plaintiff suffered a slip-and-fall accident leading to, inter alia, bone

fracture and severe pain in her shoulder.

   18. Plaintiff had no choice but to seek a short leave of absence on or about October 16, 2021

in order to obtain medical treatment for her injuries resulting from the slip-and-fall.

   19. Plaintiff obtained FMLA certification paperwork from her doctor, and emailed same to

her Human Resources Department on or about October 21, 2021. Plaintiff received an FMLA ID

Number of 359605316 following her submissions.

   20. Plaintiff sought FMLA leave from beginning on or about October 16, 2021 to obtain

continuing treatment from her health care provider, including orthopedic surgery and physical

therapy.

   21. Plaintiff’s estimated leave would be from on or about October 16, 2021 through

December 2, 2021.



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   22. On October 26, 2021, Deputy Chief Cedric Giles emailed Plaintiff a letter stating that she

was terminated without any explanation whatsoever. The letter stated as follows:




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   23. Plaintiff’s termination was in retaliation for her request for and usage of FMLA leave.

                  COUNT 1 – 29 U.S.C. § 2615 - FMLA – RETALIATION
           (Plaintiff v. Defendant Yarbrough in her official and individual capacities)

   24. Plaintiff restates, realleges, and incorporates by reference Paragraphs 1 through 23 of this

Complaint as if fully replead herein.

   25. The FMLA creates a direct private right of action for employees such as Plaintiff to sue

for redress for violations of the Act. See 29 U.S.C. § 2617(a)(2).

   26. The FMLA provides for rights of action against employers as well as against individuals

acting in the interest of employers. See 29 U.S.C. § 2611(4)(A); see, e.g., Freemon v. Foley, 911

F.Supp. 326, 330 (N.D. Ill. 1995); Katz v. Northwest Orthopaedics and Sports Medicine, 2020

WL 1986965, *9-10 (N.D. Ill. 2020) (endorsing an economic realities test to determine

individual liability under the FMLA).

   27. To make a claim for retaliation under the FMLA, a plaintiff must plead and prove that her

employer took an adverse action against her because of her activity protected under the FMLA.

See, e.g., Burnett v. LFW, Inc., 472 F.3d 471, 482 (7th Cir. 2006); see 29 U.S.C. § 2615.

   28. At all times, Plaintiff was an FMLA eligible employee because she was employed by

Yarbrough for more than 12 months prior to her request for leave in issue in this case in October

2021, and had worked more than 1,250 hours for Clerk Yarbrough in that same period.

   29. Defendant Clerk Yarbrough has at all times been an employer within the meaning of the

FMLA.

   30. Defendant Yarbrough individually has at all times been a person acting in the interest of




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the Cook County Clerk’s Office with respect to its employees who exercises complete

supervisory control over all aspects of Plaintiff’s terms and conditions of employment, as well as

the manner of her work performance.

   31. Plaintiff was entitled to take FMLA leave in October 2021 because she was an eligible

employee and because she had not exhausted her twelve weeks of leave authorized by the Act.

   32. Plaintiff provided sufficient notice of her intent to utilize leave benefits mandated by the

FMLA by Plaintiff obtaining FMLA certification paperwork from her doctor, emailing same to

her Human Resources Department on or about October 21, 2021, and receiving an FMLA ID

Number of 359605316 following her submission.

   33. While Plaintiff was advised of her termination in a letter from Cedric Giles, such

termination was done with the knowledge, and with the consent and approval and direction of

Clerk Yarbrough.

   34. Defendant Yarbrough in her official capacity denied Plaintiff the FMLA benefits to

which she was entitled in October 2021 by terminating her employment on October 26, 2021.

   35. Defendant Yarbrough in her individual capacity denied Plaintiff the FMLA benefits to

which she was entitled in October 2021 by terminating her employment on October 26, 2021.

   36. Defendants caused Plaintiff to suffer damages as a result of its interference with her

FMLA rights, to include loss of job, benefits, pay and salary, and health insurance.

       Based on the foregoing, Plaintiff respectfully requests that this Court enter judgment in

her favor, and against Defendants, and order Defendants to pay damages to her in the amount of

lost wages, salary, benefits, and all other compensation lost as a result of Defendants’ violation

of the Act, plus interest at the prevailing rate, plus an additional amount as liquidated damages,

and additionally order that Defendant Yarbrough reinstate her to her position with full make



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whole relief. In addition, Plaintiff prays that this Honorable Court award and allow Plaintiff a

reasonable attorneys’ fee award, reasonable expert witness fees, and the other costs of this

action, along with such other relief as this Court deems just and proper.

                 COUNT 2 – 29 U.S.C. § 2615 - FMLA – INTERFERENCE
           (Plaintiff v. Defendant Yarbrough in her official and individual capacities)

   37. Plaintiff restates, realleges, and incorporates by reference Paragraphs 1 through 23 of this

Complaint as if fully replead herein.

   38. The FMLA creates a direct private right of action for employees such as Plaintiff to sue

for redress for violations of the Act. See 29 U.S.C. § 2617(a)(2).

   39. To make a claim for interference under the FMLA, a plaintiff must plead and prove that

(1) she was eligible for the FMLA’s protections, (2) her employer was covered by the FMLA, (3)

she was entitled to leave under the FMLA, (4) she provided sufficient notice of her intent to take

leave, and (5) her employer denied her FMLA benefits to which she was entitled. See, e.g.,

Burnett v. LFW, Inc., 472 F.3d 471, 482 (7th Cir. 2006); see 29 U.S.C. § 2615.

   40. At all times, Plaintiff was an FMLA eligible employee because she was employed by

Yarbrough for more than 12 months prior to her request for leave in issue in this case in October

2021, and had worked more than 1,250 hours for Clerk Yarbrough in that same period.

   41. Defendant Yarbrough in her official capacity has at all times been an employer within the

meaning of the FMLA.

   42. Defendant Yarbrough individually has at all times been a person acting in the interest of

the Cook County Clerk’s Office with respect to its employees who exercises complete

supervisory control over all aspects of Plaintiff’s terms and conditions of employment, as well as

the manner of her work performance.

   43. Plaintiff was entitled to take FMLA leave in October 2021 because she was an eligible

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employee and because she had not exhausted her twelve weeks of leave authorized by the Act.

   44. Plaintiff provided sufficient notice of her intent to utilize leave benefits mandated by the

FMLA by Plaintiff obtaining FMLA certification paperwork from her doctor, emailing same to

her Human Resources Department on or about October 21, 2021, and receiving an FMLA ID

Number of 359605316 following her submission.

   45. While Plaintiff was advised of her termination in a letter from Cedric Giles, such

termination was done with the knowledge, and with the consent and approval and direction of

Clerk Yarbrough.

   46. Defendant Yarbrough in her official capacity denied Plaintiff the FMLA benefits to

which she was entitled in October 2021 by terminating her employment on October 26, 2021.

   47. Defendants caused Plaintiff to suffer damages as a result of its interference with her

FMLA rights, to include loss of job, benefits, pay and salary, and health insurance.

       Based on the foregoing, Plaintiff respectfully requests that this Court enter judgment in

her favor, and against Defendants, and order Defendants to pay damages to her in the amount of

lost wages, salary, benefits, and all other compensation lost as a result of Defendants’ violation

of the Act, plus interest at the prevailing rate, plus an additional amount as liquidated damages,

and additionally order that Defendant Yarbrough reinstate her to her position with full make

whole relief. In addition, Plaintiff prays that this Honorable Court award and allow Plaintiff a

reasonable attorneys’ fee award, reasonable expert witness fees, and the other costs of this

action, along with such other relief as this Court deems just and proper.

        COUNT 3 – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              (Plaintiff v. Defendant Yarbrough in her individual capacity)

   48. Plaintiff restates, realleges, and incorporates by reference Paragraphs 1 through 23 of this

Complaint as if fully replead herein.

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   49. To state a claim for intentional infliction of emotional distress under Illinois law, a

plaintiff must allege facts sufficient to infer: (1) conduct that is extreme and outrageous, (2) that

the Defendant intended the conduct to inflict severe emotional distress or know that there was a

high probability that the conduct would cause extreme emotional distress, and (3) that the

conduct, in fact, caused severe emotional distress.

   50. At all times, Defendant Yarbrough was in a position of complete power and authority

over Plaintiff in that she could dictate all of her job duties, the manner in which she performed

her job, could discipline, and could fire her at will.

   51. Plaintiff was completely dependent financially on her job at the Cook County Clerk’s

Office in order to support herself, a fact of which Defendant Yarbrough was at all times aware.

   52. Defendant Yarbrough’s termination of Plaintiff constituted extreme and outrageous

conduct going beyond all bounds of decency in that it was done simply because Plaintiff was

attempting to obtain continuing treatment for her serious medical conditions, a fact which an

average member of the community would deem outrageous.

   53. Defendant Yarbrough at all times knew that there was a high probability that her

termination of Plaintiff would cause extreme emotional distress to Plaintiff because she had

worked closely with Plaintiff on a daily basis for multiple years, knew Plaintiff well, and knew

that Plaintiff was completely financially dependent upon her job with the Clerk for her support

and welfare.

   54. At all times, Defendant Yarbrough acted willfully and wantonly in terminating Plaintiff

in that her conduct showed an actual and deliberate indifference and conscious disregard for the

Plaintiff and her rights to seek medical treatment for health conditions.

   55. As a result of Defendant’s conduct, Plaintiff has, in fact, suffered extreme emotional



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distress, to include angst, anxiety, anger, frustration, humiliation, trouble sleeping, nightmares

and stress dreams, shame, embarrassment, sadness, depression, loss of normal emotional life,

loss of self-respect, and self-shame.

   56. As a result of Defendant’s willful and wanton conduct, Plaintiff has suffered damages, to

include the emotional distress described herein.

          Based on the foregoing, Plaintiff respectfully requests that this Court enter judgment in

her favor, and against Defendant Yarbrough in her individual capacity, and enter an order

requiring Defendant to pay Plaintiff compensatory damages in an amount to be determined at

trial, and for such other relief as this Court deems just and proper.

                                 COUNT 4 – INDEMNIFICATION
                                  (Plaintiff v. Cook County, Illinois)

   57. Plaintiff restates, realleges, and incorporates by reference Paragraphs 1 through 56 of this

Complaint as if fully replead herein.

   58. Illinois statute provides that a local public entity such as Cook County, Illinois is

obligated to assume financial responsibility for the actions committed by its officials or

employees such as Defendant Yarbrough. See 745 ILCS §§ 10/1-202, 10/2-302, and 10/9-102.

   59. Defendant Cook County, Illinois is obligated to assume such financial responsibility for

the other Defendants hereto.

          WHEREFORE, Plaintiff respectfully requests that this Court enter an order directing

Cook County, Illinois to pay, indemnify, and assume financial responsibility for the actions

and/or omissions committed by Defendant Yarbrough for the harms caused to Plaintiff alleged

herein.

                              JURY DEMANDED ON ALL COUNTS




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                                             Respectfully submitted,

                                             JAMICA DAVIS

                                                   /s/ Cass T. Casper
                                             By:_________________________________
                                                   Cass T. Casper, Esq.
                                                   Her Attorney
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